              Case 3:25-cr-00215-RK
4/1/25, 3:14 PM                                                Document 33-5historical
                                                                     Brooklyn     Filedpast 04/04/25        Page 1 of 1 PageID: 174
                                                                                            weather | Weather25.com

                                                                                                                 °F         °C      Search for a city




                                                                            Brooklyn
                                                                Historical Weather - March 21


                Overview                   14 Days                         April                  May                 Long range            Tomorrow




         Home     North America           United States         New York      Brooklyn   Historical



                Previous day                                                                                                             Next day




              Brooklyn Historical Past Weather March 21

              This page shows the past year’s weather in Brooklyn on March 21.

              It can give you an idea of what the weather in Brooklyn might be like on March 21.


              Location:        Brooklyn


              Change date:        March 21




                    TEMPERATURE               PRECIPITATION

                    46° / 33°                   0.04 in



                       WIND                     HUMIDITY

                     15 Miles                   60.7 %




                 Weather in Brooklyn during the last few years on March 21

                    Mar 20                                                                                                                Mar 22



                    Year                    Temperatures               Rain               Weather                                   Wind


                    2025 - March 21              51 ° / 33 °          0.24 in                           Partly cloudy              26 Miles

                    2024 - March 21              41 ° / 32 °               0 in                         Partly cloudy              22 Miles


https://www.weather25.com/north-america/usa/new-york/brooklyn?page=past-weather#day=21&month=3                                                          1/4
